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                        EXHIBIT G
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                      MINUTES OF THE ORGANIZATIONAL MEETING OF
                             THE BOARD OF DIRECTORS OF
                                NOVEDEA SYSTEMS. INC.
                              A FOR-PROFIT CORPORATION

 The    organizational meeting of the Board of Directors of NOVEDEA SYSTEMS. INC., a Texas
 business   corporation (hereinafter “Business Corporation"), was held at 1750 N. Collins Blvd, Ste
 212,, Richardson, Texas, 75080          ,   on   February 27, 2012.
 The   undersigned, being the solc member of the initia! Board of Directors of NOVEDEA
 SYSTEMS. INC, was present. The undersigned waived notice of the meeting as evidenced
 attached Waiver of Notice signed and appended hereto.
                                                                                      by the

 RAMDHAN YADAV KOTAMARAJA was                             appointed Chairman of the meetmg and ANANDA
 BABU DASARI          was   appointed    Secretary of the meeting.

                            MENUTE BOOK AND CORPORATE RECORDS

The     Secretary   submitted to the          meeting the corporate record book for maintenance          of the
Business Corporation's records.              Upon motion duly made, seconded and carried, it was
            RESOLVED, that         the   corporate     record book is    adopted   as   the record book of the
corporation, and further,
            RESOLVED, that        the Business        Corporation       appropriate corporate records in
                                                                    maintain
the    corporate   record   book, including but not limited to originals, copies or certified copies of the
Business  Corporation's original and any amended, corrected or restated, Acknowledgment of
Filing, Certificate of Formation, Bylaws, minutes of meetings of shareholders and directors, and
written consents of shareholders and directors.

                                                      OFFICERS

The Chairman of the meeting then called for the election of officers of the Business
The following persons were nominated to the office
                                                                                                   Corporation,
                                                   preceding their name:
 Office                                                      Name
 President                                                   RAMDHAN YADAV KOTAMARAJA
 Secretary                                                   ANANDA BABU DASARI

No further nominations        being
                               made the nominations were closed and the directors            to    proceeded
vote   on   the nominees.The Chairman armounced that the foregoing nominees were clected to the
offices set before their    respective
                                  names to serve as such at the
                                                                           pleasure
                                                                      of the Board of Directors
or pursuant to the terms of
                                any written             employment
                                                           agreement executed     the Businessby
Corporation   and the   respective
                               officer.




                                                                                                     KATAMARAJA000015
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                                               ISSUANCE OF SHARES

 Upon motion duly made, seconded and carried, it was
           RESOLVED, that the Business                Corporation    issue 10000 shares of the Business
 Corporation's authorized shares of common stock {no                par value), for a purchase price of $.01
 each, as tollows:

  Name                           No. of Shares
 RAMDHAN                          10000
  YADAV
  KOTAMARAJA

Upon motion duly made, seconded and carried, it was
         RESOLVED, that the undersigned has determined that the fair value of the consideration
described above is    as   set   forth above.

Upon motion duly made, seconded and carried, it was
       RESOLVED, that upon receipt of the consideration, the officers of the Business
Corporation are authorized to issue share certificates to the persons named above and to obtain, if
advisable, representations from any purchaser that the shares are being acquired for investment
purposes and not for distribution, and further

         RESOLVED,      that the Board of Directors of the Business Corporation may
                                                                                       upon such
terms as the Board of Directors in its discretion may determine, issue authorized shares of the
Business Corporation for consideration consisting of any tangible or intangible benefit to the
Business Corporation or other property of any kind or nature, including cash,
                                                                                 promissory notes,
services performed, contracts for services to be performed, other securities of the Business
Corporation, or securities of any other corporation, domestic or foreign, or other        entity.
                                                BANK ACCOUNT

Upon motion duly made, seconded and carried, it was
         RESOLVED,         that the Business      Corporation establish in its name one or more accounts
with   one or more   financial institutions on such terms and conditions       as may be agreed with Bank
of   America, Richardson, Texas      any other financial institutions, and that the officers of the
                                          or
Business   Corporation are authorized to execute any resolutions required by said financial
institutions for such accounts and to          designate
                                               the person or persons authorized to write checks
on such accounts on behalf of the Business
                                                    Corporation.




                                                                                                KATAMARAJA000016
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                         FURTHER INSTRUCTIONS TO OFFICERS

 Upon motion duly made, seconded and carried, it was
         RESOLVED, that the officers of the Business Corporation are authorized to do all things
 and take all action necessary and helpful to carry out the above resolutions and all acts of the
 officers and any persons acting for the Business Corporation which are consistent with the above
 resolutions are ratified and adopted as the acts of the Business Corporation.

 Upon motion duly made, seconded and carried, it was
        RESOLVED that the signing of these minutes shall constitute full ratification thereof and
 waiver of notice of the meeting by the signatories.

The Chairman asked whether there    was   any further business   to come before the Directors at this
meeting, and there being no response, the meeting was adjourned.
DATE:   February 27, 2012.


                                              ANANDA BABU DASARI
                                                                            he
                                              Secretary
                                              APPROVED:




                                             RAMDHAN YADAY KOTAMARAIA




                                                                                         KATAMARAJA000017
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                           WAIVER OF NOTICE AND CONSENT

        RESOLVED,       that the undersigned, being the sole member of the initial Board of
 Directors of NOVEDEA SYSTEMS. INC. named in the Business
 Formation filed with the Secretary of State of Texas, by
                                                                      Corporation's Certificate of
                                                                  approving the Minutes of the
 Organizational Meeting of the Directors, and by this resolution, does hereby waive notice of the
 time and place of themeeting, consents to the meeting and approves the contents of the Minutes
 ofthe Organizational Meeting of the Directors,




                                             RAMDHAN YADAV KOTAMARAIA
                                             Date signed:__                  Soy




                                                                                     KATAMARAJA000018
